      Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

NANCY MELLO MILLER,                                     )
 Plaintiff                                              )              CIVIL ACTION NO.: 3:21-cv-1231
                                                        )
VS.                                                     )
                                                        )
DOROTHY MELISSA MILLER,                                 )
 Defendant                                              )              SEPTEMBER 15, 2021

                                                COMPLAINT

                                         NATURE OF THE SUIT

1.    This is a civil action for relief from claims against the individual Defendant of stalking,

      defamation and tortious interference with business opportunities and for damages to

      compensate the Plaintiff for the harm she has suffered, and will continue to suffer, by reason

      of the malicious and intentional acts of the Defendant.

2.    Plaintiff seeks a declaration and order that Defendant cease and desist from stalking and/or

      defaming Plaintiff in any way.

                                                THE PARTIES

3.    The Plaintiff Nancy Mello Miller is a resident of the State of Connecticut.

4.    Upon information and belief, at all times mentioned herein, the Defendant Dorothy Melissa

      Miller was, and is, a resident of the State of Virginia.




                                                                                                           1
                                        THE HARDESTY LAW FIRM, LLC
              The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                        ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
     Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 2 of 8




                                    JURISDICTION AND VENUE

5.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1332 and

     28 U.S.C. §1337.

6.   Venue is proper in the United State District Court for the District of Connecticut pursuant to

     28 U.S.C. §1391 and 28 U.S.C. §1398 because the subject matter at issue in this matter and

     damages suffered by Plaintiff due to the claims against Defendant occurred in Connecticut.

     Also, Plaintiff resides in Connecticut and she maintains her principal business office in

     Connecticut.



            COUNT ONE – VIOLATION OF 18 U.S.C. §2661A (STALKING)

7.   Plaintiff repeats and realleges the allegations of paragraphs 1 through 6 as if more fully set

     forth herein.

8.   Plaintiff and Defendant are related by marriage in that they are married to brothers Michael

     Scott Miller and William Lee Miller respectively.

9.   Plaintiff owns and operates “Nancy Mello Psychic Medium, LLC” a limited liability

     company duly formed and organized in the State of Delaware on or about February 1, 2019

     and authorized to conduct business in Connecticut, operating at 202 Ensign Drive, Mystic,

     Connecticut, and insured as such as required by the laws of the State of Connecticut.




                                                                                                          2
                                       THE HARDESTY LAW FIRM, LLC
             The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                       ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
      Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 3 of 8




10.   Immediately after Plaintiff commenced her business, Defendant began aggressively and

      repeatedly contacting Plaintiff, Plaintiff’s clients and prospective clients of Plaintiff in a

      malicious and defamatory manner.

11.   Since Plaintiff commenced her business, Defendant has repeatedly published false and

      fraudulent statements and claims related to the Plaintiff.

12.   Defendant, through accounts in her name and certain aliases, has utilized interactive

      computer services and facilities of interstate commerce, including the internet and social

      media, publication and posts on, including, but not limited to: one-question.net, TikTok,

      Facebook.com and Instagram to engage in stalking and attempting to intimidate and harass

      Plaintiff, Plaintiff’s clients and prospective clients of Plaintiff in a malicious and defamatory

      manner.

13.   Based upon the posted video content, Defendant has repeatedly engaged in said intentional

      and malicious conduct from her place of employment, CJW Medical Center in Virginia,

      while on working for CJW Medical Center and on duty there as a registered nurse.

14.   Despite Plaintiff’s demand that Defendant cease and desist from doing so, Defendant has

      continued to attempt to intimidate and harass Plaintiff, Plaintiff’s clients and prospective

      clients of Plaintiff in a malicious and defamatory manner.

15.   Defendant’s conduct alleged above was conducted in conjunction with interstate commerce.




                                                                                                             3
                                          THE HARDESTY LAW FIRM, LLC
                The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                          ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
      Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 4 of 8




16.   As a result and proximate cause of Defendant’s conduct described above, the Plaintiff has

      suffered, and will continue to suffer, substantial emotional distress.

17.    As a result and proximate cause of Defendant’s conduct described above, Plaintiff sustained

      injuries and she was forced to undergo medical testing and treatment.

18.   As a result and proximate cause of Defendant’s conduct described above, Plaintiff was

      required to spend various sums of money for medical care, medical testing and prescription

      medication necessitated by her injuries.

19.   As a result and proximate cause of Defendant’s conduct described above, Plaintiff has been

      unable to engage in her usual activities.

20.   Moreover, as a result and proximate cause of Defendant’s conduct described above, Plaintiff

      has suffered, and will continue to suffer, anxiety and fear of increased and worsening

      impairment and disability in the future and the need for further and more invasive medical

      treatment.

21.   The Plaintiff claims damages.




                                                                                                           4
                                        THE HARDESTY LAW FIRM, LLC
              The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                        ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
      Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 5 of 8




                                    COUNT TWO – DEFAMATION

22.   Plaintiff repeats and realleges the allegations of paragraphs 1 through 21 as if more fully set

      forth herein.

23.   Defendant’s above-referenced publications and posts made the following false and fraudulent

      statements and claims related to the Plaintiff:

         a. That Plaintiff has “cause (sic) a tremendous amount of harm to her family.”

         b. That Plaintiff caused the death of Plaintiff’s companion animal, a 4-year old

             akita canine named “Koa” due to Plaintiff’s neglect.

         c. That Plaintiff traumatized, neglected and almost caused the death of Plaintiff’s

         companion animal, a 12-year old golden doodle canine named “Toffee”.

         d. That Plaintiff traumatized and neglected Plaintiff’s companion animal, a mini-poodle

         canine named “Holly”.

         e. That Plaintiff has caused mental and physical harm to both humans and animals.

         f. That Plaintiff has abused her family.

         g. That Plaintiff is “scamming” prospective clients and individual clients with whom she

         has been retained and for whom she has provided services.

         h. “If a bad review is left …. she [Plaintiff] will send out her minions to disrupt your

         family and discredit you and threaten legal action”.




                                                                                                           5
                                        THE HARDESTY LAW FIRM, LLC
              The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                        ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
       Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 6 of 8




           i. “She [Plaintiff] is trying to exploit her dog that she killed for likes and money.”

           j. That Plaintiff is a narcissist.

           k. That Defendant is “speaking the truth so” Plaintiff “doesn’t harm anyone else.”

24.     Said publications, and the statements and claims included therein, were false, malicious and

        defamatory.

25.     Said publications were intentionally made by the Defendant while Plaintiff’s husband, an

        active duty military officer in the U.S. Navy, was stationed away from home in Virginia.

26.     Said statements and claims identified the Plaintiff to third persons.

27.     Said defamatory statements and claims were published to third persons.

28.     Upon information and belief, the Plaintiff’s personal and business reputations suffered injury

        as a result of said actions and statements of the Defendant.

29.     As a result and proximate cause of Defendant’s conduct described above, Plaintiff’s business

        has suffered ascertainable damages.

30.     Plaintiff claims damages.



      COUNT THREE – TORTIOUS INTERFERENCE WITH BUSEINSS OPPORTUNITY

31.     Plaintiff repeats and realleges the allegations of paragraphs 1 through 30 as if more fully set

forth herein.




                                                                                                             6
                                          THE HARDESTY LAW FIRM, LLC
                The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                          ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
      Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 7 of 8




32.    Plaintiff routinely performs consumer services in Connecticut and throughout the United

States, Canada and other countries.

33.    Upon information and belief, said conduct, actions, statements and claims of the Defendant

have and continue to interfere with the Plaintiff’s business opportunities.

34.    Plaintiff claims loss of business opportunities and damages.



       WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

       1.      As to Count One, an Order that Defendant cease and desist from stalking Plaintiff in

               any way;

       2.      As to Count One, money damages in excess of $75,000.00 and in an amount

               sufficient to compensate the Plaintiff for her injuries, impairments and losses;

       3.      As to Count Two, an Order that Defendant cease and desist from defaming Plaintiff

               in any way;

       4.      As to Count Two, money damages in excess of $75,000.00 and in an amount

               sufficient to compensate the Plaintiff for her injuries, impairments and losses;

       5.      As to Count Three, money damages in excess of $75,000.00 and in an amount

               sufficient to compensate the Plaintiff for her injuries, impairments and losses; and

       6.      Such other and further relief as the Court deems just, proper and equitable.




                                                                                                             7
                                          THE HARDESTY LAW FIRM, LLC
                The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                          ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
Case 3:21-cv-01231-KAD Document 1 Filed 09/15/21 Page 8 of 8




                                            PLAINTIFF,
                                            NANCY MELLO MILLER


                                            By: /s/ Michael A. Hardesty
                                               Attorney Michael A. Hardesty
                                               Federal Bar #ct10159
                                               12 Roosevelt Avenue
                                               Packer Business Suite 2
                                               Mystic, CT 06355
                                               Telephone: (860) 572-1551
                                               Facsimile: (860 572-1661
                                               Email: mike@hardestylawfirm.com
                                               Her Attorney




                                                                                                    8
                                 THE HARDESTY LAW FIRM, LLC
       The Mystic Packer Building, 12 Roosevelt Avenue, Packer Business Suite 2, Mystic, CT 06355
                 ♦ Telephone (860) 572-1551 ♦ Facsimile (860) 572-1661 ♦ Juris # 405156
